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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS

                                                                                                       ENTERED
                                                                                                       12/27/2019

IN RE:                                                                         CASE NO. 18−36741
Paul Pederson                                                                  CHAPTER 13
      Debtor(s)

            ORDER TO DEPOSIT FUNDS INTO THE COURT REGISTRY


    The following motion is GRANTED:

65 − Motion to Deposit Funds into the Court Registry Filed by Trustee William E. Heitkamp (Attachments: #
                                 1 Proposed Order) (Heitkamp, William)

    These unclaimed funds may be deposited into the Registry of the Court:

                          Amount: $ 200.00
                          Owed to: PAUL ARNOLD PEDERSON


    Signed and Entered on Docket: 12/27/19.

                                                    by: Kristy Love
                                                        Deputy Clerk

   This Order is signed for the Court by the Clerk under authority of 28 U.S.C. § 956 and
General Order No. 2000−3.
